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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

ELIZABETH FREDERICK,

      Plaintiff,

v.                                              Case No.: 4:19cv162-MW/MAF

WALTER MCNEIL, as Sheriff of Leon
County, Florida, et al.,

     Defendants.
_____________________________/

                       ORDER GRANTING EXTENSION

      Plaintiff previously filed a notice of settlement as to Sheriff McNeil only,

explaining that the parties were in the process of finalizing a settlement agreement.

ECF No. 135. This Court then entered an order acknowledging the pending

settlement and giving the parties until September 15, 2022 to file a stipulation of

dismissal or a status update. ECF No. 136.

      The parties have now filed a status update and a request for an additional 30

days to finalize their settlement. ECF No. 148. That request, construed as a motion,

is GRANTED. The parties must file a stipulation of dismissal or another status
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update on or before October 17, 2022.

      SO ORDERED on September 15, 2022.

                                            s/Mark E. Walker             ____
                                            Chief United States District Judge




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